        Case 2:22-cv-01620-NR Document 28-1 Filed 04/21/23 Page 1 of 12




                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA



 JORDAN SCHNUR, individually and on
 behalf of all others similarly situated,

        Plaintiff,                                     Civil Case No. 2:22-cv-01620-NR

        v.

 PAPA JOHN’S INTERNATIONAL, INC.,
 d/b/a PAPA JOHN’S,

        Defendant.


             DECLARATION OF ZIWEI SONG IN SUPPORT OF DEFENDANT’S
               MOTION TO DISMISS PLAINTIFF’S AMENDED COMPLAINT

       I, Ziwei Song, declare as follows:

        1.      I am an attorney at Covington & Burling LLP, counsel for Defendant Papa John’s

International, Inc. (“Papa John’s”) in this action. I have personal knowledge of the facts set forth

herein and, if called upon to testify, could and would testify competently about them.

        2.      I submit this declaration in support of Papa John’s motion to dismiss.

        3.      Attached hereto as Exhibit 1 is a true and correct copy of a PDF printout created

under my supervision of Papa John’s Privacy Policy saved by the Internet Archive’s Wayback

Machine as of November 22, 2022, and available at http://web.archive.org/web/

20221122130759/https://www.papajohns.com/privacy-policy.html.

       I declare under penalty of perjury that the foregoing is true and correct.



       Executed on April 21, 2023.

                                                     /s/ Ziwei Song
                                                     Ziwei Song
Case 2:22-cv-01620-NR Document 28-1 Filed 04/21/23 Page 2 of 12




                   EXHIBIT 1
2/3/23, 2:32 PM       Case 2:22-cv-01620-NR Document
                                                 Privacy28-1
                                                         Policy | Filed  04/21/23
                                                                  Papa John’s Pizza Page 3 of 12
The Wayback Machine - http://web.archive.org/web/20221122130759/https://www.papajohns.com/privacy-policy.html




  MENU            SPECIALS        PAPA REWARDS


   PRIVACY POLICY
   Effective Date Jan. 1, 2012 (last updated October 13, 2021)


   This Privacy Policy applies to the sites and apps where it appears, and any location or
   interaction where we collect personal information from you.


   This Policy describes how we treat personal information. This includes
   www.papajohns.com. It also applies to our mobile sites and apps, all ordering channels,
   our social media pages, and your interactions with us offline, including information we
   obtain through phone or in-person orders. It also describes your choices regarding how
   we use and disclose your information. By interacting with us on our sites, platforms and
   locations, you agree to the terms in this Policy.


   WE COLLECT INFORMATION FROM AND ABOUT YOU.
           We collect contact and profile information.
           For example, we might collect your name, address, profile preferences and favorites
           if you register on our site. We might also collect your phone number or email
           address.


           We collect login credentials.
           For example, we will collect passwords and other information for user authentication
           and account login.


           We collect transaction data.
           For example, we may collect items purchased, amount purchased, transaction
           date/time and whether you used a discount or promo code when making in-store or
           online purchases.

web.archive.org/web/20221122130759/https:/www.papajohns.com/privacy-policy.html                             1/10
2/3/23, 2:32 PM       Case 2:22-cv-01620-NR Document
                                                 Privacy28-1
                                                         Policy | Filed  04/21/23
                                                                  Papa John’s Pizza Page 4 of 12
           We collect payment information.
           For example, we collect your credit/debit card number, expiration date and security
           code if you make a purchase.


           We collect information you submit or post.
           For example, we may collect the information you post in a public space on our site.
           We also collect information when you contact us or complete a survey.


           We collect information about your device's location.
           For example, we may approximate your location based on your IP address. We may
           also collect location data through GPS or other similar methods.


           We collect information about your interactions and use of our website and
           mobile applications.
           For example, we may collect the date/time you access our website or mobile
           applications, the pages you access and the web site you came from, or visit when
           you leave. We may also collect information about your interactions with our emails
           and advertisements.


           We collect information about the connectivity and configuration of your
           device.
           For example, we may collect data about the type of device you use, the operating
           system and browser you use, your internet service provider, your device's regional
           and language settings, and other similar information. We may also collect your IP
           address or other device identifiers.


           We collect information from franchisees and other business partners.
           For example, we may collect information about you from our franchisees, affiliates
           and other business partners to provide you services, sell or distribute our products,
           communicate with you or provide you advertisements or other personalized content.
           We may also collect information from data sellers to enhance or supplement your
           customer information.


           We collect information from job applicants.

web.archive.org/web/20221122130759/https:/www.papajohns.com/privacy-policy.html                    2/10
2/3/23, 2:32 PM       Case 2:22-cv-01620-NR Document
                                                 Privacy28-1
                                                         Policy | Filed  04/21/23
                                                                  Papa John’s Pizza Page 5 of 12
           For example, we may collect resume, education and employment history from job
           applicants. We may also ask about your skills, certificates, and qualifications. We
           may collect background check results.


           We collect information from social media platforms.
           For example, when you “Like/Follow” us or share our content on social media
           platforms, we may collect information about your social media profile. The
           information we collect is dependent upon your privacy settings with the social
           network.


   WE USE INFORMATION AS DISCLOSED AND DESCRIBED HERE.
           We use information to deliver our products and services to you.
           We may use your information to complete your order, process your payments and
           deliver your orders to you. We may also use your information to verify your identity,
           maintain your account, personalize your experience and facilitate our loyalty
           program.


           We use information to respond to your requests or questions.
           For example, we might use your information to provide customer service and
           respond to your customer feedback. We may use your information to contact you
           about your orders or rewards. We may also use your information to process your job
           application. This may include the interview and hiring decision process.


           We use information to improve our products and services.
           We may use your information to make our website and products better. We might
           use your information to debug and repair system errors. We may use your
           information to customize your experience with us.


           We use information for security purposes.
           We may use information to protect our company, our customers, and our websites
           from malicious or fraudulent activity and prosecute those responsible.


           We use information for marketing purposes.

web.archive.org/web/20221122130759/https:/www.papajohns.com/privacy-policy.html                    3/10
2/3/23, 2:32 PM       Case 2:22-cv-01620-NR Document
                                                 Privacy28-1
                                                         Policy | Filed  04/21/23
                                                                  Papa John’s Pizza Page 6 of 12
           For example, we might provide you with information about new products,
           restaurants in your area, and special offers. We might also use your information to
           serve you ads about products and offers. We might tell you about new features or
           updates. These might be third party offers or products we think you might find
           interesting. We may also use push notifications on our mobile apps.


           We use information to communicate with you about your account or our
           relationship.
           We may contact you about your account or feedback, including transaction
           confirmations, technical notices and security alerts. We might also contact you about
           this Policy or our website Terms of Use.


           We use information to comply with legal requirements and obligations, or as
           otherwise permitted by law or as we may notify you.


   WE COLLECT INFORMATION IN DIFFERENT WAYS.
           We collect information directly from you.
           For example, if you register with us, sign up for our emails, enter a promotion or
           participate in a survey. We also collect information if you contact us. We collect
           information if you submit orders through our websites or mobile apps. We also
           collect information if you apply for a job.


           We collect information from you passively.
           We use tracking tools like browser cookies and web beacons. To learn more about
           these tools and how you can control them, click here. We collect information about
           users over time when you use this website. We may have third parties collect
           personal information this way. We also collect information from our mobile apps.


           We get information about you from third parties.
           For example, our business partners may give us information about you. Social
           media platforms may also give us information about you. If you apply for a job, your
           references and background check vendors may also give us information about you.


           We combine information.
web.archive.org/web/20221122130759/https:/www.papajohns.com/privacy-policy.html                    4/10
2/3/23, 2:32 PM       Case 2:22-cv-01620-NR Document
                                                 Privacy28-1
                                                         Policy | Filed  04/21/23
                                                                  Papa John’s Pizza Page 7 of 12
           For example, we may combine information that we have collected offline with
           information we collect online. Or we may combine information we get from a third
           party with information we already have.


   WE MAY SHARE INFORMATION WITH OTHERS.
           We will share information with our franchisees and affiliates.
           For example, we share information with our franchisees and affiliates to complete
           your orders and process your payments. We may also share information with our
           franchisees to provide local offers and promotions that might interest you.


           We will share information with others who perform services on our behalf.
           For example, we share information with vendors who provide mailing or email
           services, tax and accounting services, product fulfillment, delivery services,
           payments processing, data enhancement services, fraud prevention, maintaining
           and operating our web site and applications, data analytic services, and other
           business purposes. This also includes vendors that support the job applicant
           process. We may also share information with marketing partners who help facilitate
           online advertising. We may also engage vendors or service providers to collect
           information on our behalf.


           We will share information with our promotional partners.
           For example, we will share information with third parties who co-sponsor a
           promotion. These partners may send you information about events and products by
           mail or email.


           We will share information if we think we have to in order to comply with the
           law or to protect ourselves.
           For example, we will share information to respond to a court order or subpoena. We
           may share it if a government agency, investigatory body, or law enforcement
           requests it. We might share information when we are enforcing our Terms of Service
           or protecting the security or integrity of our Systems or investigating potential fraud.


           We may share information with any successor to all or part of our business.


web.archive.org/web/20221122130759/https:/www.papajohns.com/privacy-policy.html                       5/10
2/3/23, 2:32 PM       Case 2:22-cv-01620-NR Document
                                                 Privacy28-1
                                                         Policy | Filed  04/21/23
                                                                  Papa John’s Pizza Page 8 of 12
           For example, if part of our business was sold we may give our customer list as part
           of that transaction.


           We may share information for other reasons we may describe to you.


   YOU HAVE CERTAIN CHOICES AND RIGHTS ABOUT HOW WE USE YOUR
   INFORMATION.
           You can review and update your account information.
           You can correct, update or delete your account information by accessing and
           making the change within your Papa John's online account.


           You can opt out of receiving our marketing emails and/or text messages.
           To stop receiving our promotional emails or text messages, log in to your account
           and change your settings or follow the instructions in any promotional message you
           get from us. Even if you opt out of getting marketing messages, we will still send you
           transactional messages. These include responses to your questions.


           You can control cookies and tracking tools.
           To learn how to manage how we - and our vendors - use cookies and other tracking
           tools, please click here.


           You can control tools on your mobile devices.
           For example, you can turn off the GPS locator or push notifications on your phone.
           You may also control precise location tracking by adjusting your location services
           settings. We may continue to approximate your location based on your IP address.


           California residents’ rights. If you reside in California and are not a job applicant,
           employee or employee of another company interacting with us in your job role, you
           have the right to ask us what information we collect and use. You also have the right
           to ask what information we disclose and sell. You also have the right to request that
           we delete information we have collected from you. To exercise your rights contact us
           the Privacy Hotline at 833-727-2596 (833-PAPA-596) or visit the online California
           Consumer Privacy Rights Request Form. We will verify your request by using the

web.archive.org/web/20221122130759/https:/www.papajohns.com/privacy-policy.html                     6/10
2/3/23, 2:32 PM       Case 2:22-cv-01620-NR Document
                                                 Privacy28-1
                                                         Policy | Filed  04/21/23
                                                                  Papa John’s Pizza Page 9 of 12
           information you provide to us when you submit a request and matching it with
           information we already have about you. We will not discriminate against you
           because you have exercised any of your rights under the California Consumer
           Privacy Act. You can designate someone else to make a request by having them
           submitting to us a completed “Authorized Agent Designation” form. You can obtain
           the designation form by emailing us at privacy@papajohns.com


           Sales of information. Under California law we are required to tell you if we “sell”
           information as that term is defined by applicable law. Sell means to share personal
           information with a third party for monetary or other valuable consideration. California
           residents, we do not do this based on our understanding of that term. We do not sell
           personal information of minors under the age of 16. We also have disclosure
           obligations in Nevada. There, we do not exchange Nevada residents’ personal
           information for money. Nevada residents may opt out of the future sale of their
           information by emailing us at privacy@papajohns.com.


           These sites and apps are not intended for children.
           Our sites and apps are meant for adults. We do not knowingly collect or solicit
           personal information from children under 13 without permission from a parent or
           guardian. If you are a parent or legal guardian and think your child under 13 has
           given us information without your permission, you can email us and request that
           your child’s information be corrected or deleted. You can also write to us at the
           address listed at the end of this Policy. Please mark your inquiries "COPPA
           Information Request." Parents, you can learn more about how to protect children's
           privacy on-line here.


           We use standard security measures.
           Security of your information is very important to us. However, the Internet is not
           100% secure. We cannot promise that your use of our sites will be completely safe.
           We encourage you to use caution when using the Internet. This includes not sharing
           your passwords.


           We keep personal information as long as it is necessary or relevant for the practices
           described in this Policy. We also keep information as otherwise required by law.

web.archive.org/web/20221122130759/https:/www.papajohns.com/privacy-policy.html                    7/10
2/3/23, 2:32 PM      Case 2:22-cv-01620-NR Document  28-1
                                                Privacy Policy |Filed 04/21/23
                                                                Papa John’s Pizza Page 10 of 12
           We store information both within and outside the United States.
           Information we maintain may be stored both within and outside of the United States.
           If you live outside of the United States, you understand and agree that we may
           transfer your information to the United States. This site is subject to U.S. laws,
           which may not afford the same level of protection as those in your country. Your use
           of our Web Site and Applications or provision of any information constitutes your
           consent to the transfer, processing, usage, sharing, and storage of your information
           in the U.S. and other jurisdictions as set forth in this Privacy Policy.


           We may link to other sites or apps or have third party services on our
           platforms we don’t control.
           If you click on a third party link, you will be taken to platforms we do not control. This
           Policy does not apply to the privacy practices of those platforms. Read the other
           companies’ privacy policies carefully. We are not responsible for these third parties.


           Our site may also serve third party content that contains their own cookies or
           tracking technologies. To learn more, click here. We do not control the use of those
           technologies.


           Feel free to contact us if you have more questions.
           If you have any questions about this Policy or want to correct or update your
           information, please email us at privacy@papajohns.com


   You can also write to us at:
       Papa John's International, Inc.
           P.O. Box 99900
           Louisville, Kentucky 40269-0900


   You may seek an alternative format.
   Alternative formats of this Privacy Statement are available to individuals with a disability.
   Please contact us at privacy@papajohns.com for assistance.




web.archive.org/web/20221122130759/https:/www.papajohns.com/privacy-policy.html                     8/10
             Case 2:22-cv-01620-NR Document
2/3/23, 2:32 PM                              28-1
                                        Privacy Policy |Filed 04/21/23
                                                        Papa John’s Pizza Page 11 of 12
   Our Company

   About Papa John's

   Investor Relations

   Careers



   Our Pizza

   Nutritional Info

   Allergen Guide

   Ingredients

   Quality Guarantee



   Help

   Customer Service

   Ordering

   Gift Cards

   Store List



   Careers

   Corporate

   Papa John’s Stores

   Become a Driver




                                   OPEN A FRANCHISE




     International Sites

   Privacy        Cookies   Terms of Use      Site Map      Text & Email Offers   Pizza Deals & Specials
web.archive.org/web/20221122130759/https:/www.papajohns.com/privacy-policy.html                            9/10
2/3/23, 2:32 PM      Case 2:22-cv-01620-NR Document  28-1
                                                Privacy Policy |Filed 04/21/23
                                                                Papa John’s Pizza Page 12 of 12


   Facebook                Twitter      YouTube            Instagram


   Offers good for a limited time at participating U.S. Papa John's restaurants. Prices may vary. Not valid with any other coupons or
   discounts. All beverage related trademarks are registered Trademarks of PepsiCo, Inc. Some offers require the purchase of multiple
   pizzas. Some offers may be available online only. No triple toppings or extra cheese. Certain toppings may be excluded from special
   offer pizzas or require additional charge. Additional toppings extra. Limit seven toppings to ensure bake quality. Limited delivery area.
   Delivery fee may apply and may not be subject to discount. Minimum purchase may be required for delivery. Customer responsible for
   all applicable taxes.


   No purchase necessary. MSG and Data rates may apply. Click here for SMS term and conditions for terms and conditions. Text HELP
   for help. Six (6) message per month. Text CANCEL to cancel.


   Customer Care Team Contact Us.


   ©2022 Papa John's International, Inc. All Rights Reserved.


   Canada: Adults and youth (ages 13 and older) need an average of 2,000 calories a day, and children (ages 4 to 12) need an average
   of 1,500 calories a day. However, individual needs vary.
   n-webnc-p03-18.4.1.0 18.4.0.2




web.archive.org/web/20221122130759/https:/www.papajohns.com/privacy-policy.html                                                            10/10
